       Case 4:16-cr-00072-KGB        Document 77       Filed 09/06/16     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                No. 4:16CR00072-03 JLH

DARRYL DAYON MADDEN                                                            DEFENDANT

                                          ORDER

       The September 1, 2016 Order referring defendant Darryl Dayon Madden’s motion to modify

pretrial release to United States Magistrate Judge Joe J. Volpe is hereby WITHDRAWN. A hearing

on the motion to modify will be set by separate Order before the undersigned. Document #74.

       IT IS SO ORDERED this 6th day of September, 2016.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
